Case 1:03-cv-00785-MBH   Document 244-9   Filed 02/02/18   Page 1 of 23




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Case 1:03-cv-00785-MBH                          Document 244-9                  Filed 02/02/18            Page 2 of 23




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Case 1:03-cv-00785-MBH   Document 244-9   Filed 02/02/18   Page 4 of 23




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      Case 1:03-cv-00785-MBH                Document 244-9                  Filed 02/02/18              Page 5 of 23


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Case 1:03-cv-00785-MBH   Document 244-9   Filed 02/02/18   Page 18 of 23




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                      ln hand prld, convcyr and rlrlrnls lo Ell¡O, INC. I i cofpofatJ,On

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                                     'along  the East line said Governtnent Lot 2 569.64 feet;.thence
                            llesterlv 221.58 feet:'thence Southrvesterly at right angle to RIH
                            N.P,R.R-. 15,3 feet to East l.ine of sald R/þli thence Norhtwesterly olong
                            sajd R/tt¡ to the North line of said Govern¡ttent Lot 2; thence Easterly
                            aLonc iatd l{o¡tTr llne. to the pofnt of beglnnlng;
                            niO¡Þt portlon bhoroof conveyecì to King Colnty for iln:¡t Jizrmnrnnlsh Road
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